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                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

  GERALD W. CORDER,

          Plaintiff,
  v.                                                                Civil Action No. 1:18-CV-30
                                                                    Hon. Judge Irene M. Keeley
  ANTERO RESOURCES CORPORATION,
  a Delaware corporation,                                           c/w 1:18CV31, 1:18CV32,
                                                                    1:18CV33, 1:18CV34, 1:18CV35,
          Defendant.                                                1:18CV36, 1:18CV37, 1:18CV38,
                                                                    1:18CV39, 1:18CV40 for purposes
                                                                    of discovery and setting schedule

        ANTERO RESOURCES CORPORATION’S MEMORANDUM IN SUPPORT
       OF SECOND MOTION FOR LEAVE TO FILE CONFIDENTIAL SETTLEMENT
             AGREEMENT AND RELEASE OF ALL CLAIMS UNDER SEAL

  I.      INTRODUCTION

          Defendant Antero Resources Corporation (“Antero”) submits this memorandum in

  support of its second motion for authorization to file a copy of a Confidential Settlement

  Agreement and Release of All Claims under seal as an exhibit to Antero’s answer to the second

  amended complaint. The Court should grant this motion because the Confidential Settlement

  Agreement and Release of All Claims, which was entered into by Antero and Plaintiffs Gerald

  W. Corder, Randall N. Corder, Lorena Krafft, Cheryl Morris, Tracy Bridge, Angela Nicholson,

  Kevin McCall, and Brian McCall1 is integral to the affirmative defenses in Antero’s answer,

  including settlement and release, and the parties’ interest in maintaining their agreed

  confidentiality heavily outweighs the public’s interest in access. Therefore, permanently sealing

  the Confidential Settlement Agreement and Release of All Claims is the only way to serve these

  ends and to protect the interest of the parties thereto.



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   Plaintiffs Marlyn C. Sigmon, Garnet C. Cottrill, Janet C. Packard, and Leroy Packard did not enter into the
  Confidential Settlement Agreement and Release of All Claims.
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  II.    STATEMENT OF THE CASE

         On June 11, 2018, the Court entered its Memorandum Opinion and Order authorizing

  Plaintiffs to file their second amended complaints and granting in part and denying in part

  Antero’s motions to dismiss. Second amended complaints were filed thereafter.

         On June 13, 2018, the Court entered an Order consolidating these cases for discovery and

  scheduling.

         On June 14, 2018, the Court entered a stipulation regarding the answer of the second

  amended complaint. In the stipulation, the parties agreed to extend the time for Antero to serve

  its answer to the second amended complaint to July 3, 2018. Antero’s answer to the second

  amended complaint contains affirmative defenses, including settlement and release.

         Antero intends to attach a Confidential Settlement Agreement and Release of All Claims,

  which was entered into by Antero and Plaintiffs Gerald W. Corder, Randall N. Corder, Lorena

  Krafft, Cheryl Morris, Tracy Bridge, Angela Nicholson, Kevin McCall, and Brian McCall in

  August of 2015, because it is integral to Antero’s affirmative defenses.        Without waiving

  confidentiality, Antero represents that the Confidential Settlement Agreement and Release of All

  Claims provides in relevant part as follows:

         22.    The Parties agree that all aspects of this Agreement shall remain
         confidential unless disclosure is required by law or disclosure is made to financial
         professionals who have a need to know the terms of this Agreement and have
         been advised of their obligation to comply with the terms of this Agreement.

         23.     . . . [A] breach of this confidentiality obligation may cause Antero
         irreparable damage incapable of measurement by any known or safe rule and for
         which money damages alone would be an insufficient remedy. . . . This
         confidentiality obligation is a material term of the Agreement; however, any
         breach of this confidentiality obligation shall not constitute a breach of this
         Agreement, which confidentiality obligation the Parties intend to be, and shall be,
         severable from the other terms of this Agreement.




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  III.   DISCUSSION

         Local Rule of General Procedure 6.01 and Local Rule of Civil Procedure 26.05(b)

  authorize the filing of a motion for permission to file certain court documents under seal. “The

  right of public access to documents or materials filed in a district court derives from two

  independent sources: the common law and the First Amendment.” Va. Dep’t of State Police v.

  Washington Post, 386 F.3d 567, 575 (4th Cir. 2004) (citing Stone v. Univ. of Md. Med. Sys.

  Corp., 855 F.2d 178, 180 (4th Cir. 1988)). The common law right affords presumptive access to

  all judicial records and documents. Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 597 (1978).

  Materials that fall within the common law right may be sealed if “countervailing interests heavily

  outweigh the public interests in access,” and “[t]he party seeking to overcome the presumption

  bears the burden of showing some significant interest that outweighs the presumption.”

  Rushford v. New Yorker Magazine, Inc., 846 F.2d 249, 253 (4th Cir. 1988). “In contrast to the

  common law, ‘the First Amendment guarantee of access has been extended only to particular

  judicial records and documents.’” Va. Dep’t of State Police, 386 F.3d at 575 (quoting Stone, 855

  F.2d at 180). Specifically, the First Amendment applies in limited circumstances only, such as

  plea and sentencing hearings. Rushford, 846 F.2d at 253.

         “It is uncontested, however, that the right to inspect and copy judicial records is not

  absolute. Every court has supervisory power over its own records and files, and access has been

  denied where court files might have become a vehicle for improper purposes.” Nixon, 435 U.S.

  at 598. Established exceptions to the presumption of public access include private confidential

  settlement agreements. Cf. Hargrove v. Ryla Teleservices, Inc., No. 2:11-cv-344, 2013 WL

  1897027, at *8 (E.D. Va. Apr. 12, 2013) (recognizing that “parties are typically permitted to

  enter into confidential settlement agreements” and that “such agreements are private contracts




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  not filed with the court or made a part of the public record”); see also Bruce A. Ericson, Private

  Confidentiality Agreements, 4 Bus. & Com. Litig. Fed. Cts. § 35:98 (4th ed. Nov. 2017 Update)

  (“Absent a showing of compelling need, a purely private agreement among the parties to keep

  the terms of the settlement and their own records confidential will be enforced.”).

          In this case, the Confidential Settlement Agreement and Release of All Claims is critical

  to Antero’s affirmative defense that certain Plaintiffs are barred from bringing breach of contract

  claims against Antero based on the doctrines of settlement and release. Antero bears the burden

  of proof on this issue. Goodman v. Praxair, Inc., 494 F.3d 458, 464 (4th Cir. 2007) (noting that

  “the burden of establishing the affirmative defense rests on the defendant”).                       Sealing the

  Confidential Settlement Agreement and Release of All Claims is necessary to allow Antero to

  pursue this affirmative defense. Moreover, sealing the Confidential Settlement Agreement and

  Release of All Claims is necessary in order to protect the identities of parties thereto who are not

  Plaintiffs in the present litigation. Finally, other alternatives are inadequate to protect the

  confidential nature of the Confidential Settlement Agreement and Release of All Claims.2

          Furthermore, the parties’ interest in maintaining the confidential nature of the

  Confidential Settlement Agreement and Release of All Claims heavily outweighs the public’s

  interest in access, given the purely private nature of the agreement. In addition, if unsealed, the

  Confidential Settlement Agreement and Release of All Claims could quickly become a vehicle

  for improper purposes to be used against all parties thereto, which undermines the public policy

  goals that encourage settlement. Accordingly, permanently sealing the un-redacted portions of

  the Confidential Settlement Agreement and Release of All Claims is the only way to serve these

  ends.

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   Redaction alone does not eliminate concerns regarding the complete confidentiality of un-redacted portions of the
  Settlement Agreement. Cf. Mey v. Honeywell Int’l, Inc., No. 2:12-cv-1721, 2013 WL 5150445, at *1 n.1 (S.D. W.
  Va. Sept. 13, 2013) (directing the parties to redact additional information and provide a revised motion to seal).


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  IV.    CONCLUSION

         For the foregoing reasons, Antero Resources Corporation respectfully requests that this

  Court to grant its second motion and enter an Order authorizing the filing of the Confidential

  Settlement Agreement and Release of All Claims under seal as an exhibit to the answer to the

  second amended complaint.

         Respectfully submitted this 2nd day of August 2018.

                                                    /s/ Amy M. Smith
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                                                    Counsel for Antero Resources Corporation




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                                    CERTIFICATE OF SERVICE

            I hereby certify that on the 2nd day of August 2018, I electronically filed the foregoing

  “Memorandum in Support of Antero Resources Corporation’s Second Motion for Leave to

  File Confidential Settlement Agreement and Release of All Claims under Seal” with the Clerk

  of the Court using the CM/ECF System, which will send notification of such filing to the

  following CM/ECF participants:

                                     Marvin W. Masters, Esquire
                                     April D. Ferrebee, Esquire
                                     The Masters Law Firm, LC
                                     181 Summers Street
                                     Charleston, WV 25301




                                                          /s/ Amy M. Smith




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